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                                       Motion for

Postponement of Mortgage Modification Mediation Scheduled for December 17,

2020




Dear Honorable Judge Peter D. Russin

UNITED STATES BANKRUPTCY COURT

United States Courthouse 299 E. Broward Blvd.

Courtroom: 301 / Chambers: Room 303

Fort Lauderdale, FL 33301

BANKrUPTCY Case 19-bk-24331-PDR                                 Date: December 14, 2020




    I am requesting a postponement of the Mortgage Modification Mediation for the

following reasons.

1. I was supposed to receive notification of the Mortgage Modification Mediation 14

    calendar days before the Mediation. I received the Mortgage Modification Mediation

    notification eight (8) days before the Mediation per the United States Postal Service

    Informed delivery on December 7, 2020. I have requested a rescheduling of the

    MORTGAGE MODIFICATION MEDIATION due to that reason. See exhibits 1 & 2

2. My rescheduling requests are not being responded to.




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3. The Mortgage Modification Mediation is contrary to an agreement that Special Loan

    Servicing and I had agreed

4. I had requested a change in mediators due to if the mediator will allow item 1 to

    occur, what other issues could occur.

5. Due to the various litigations occurring that would pay off my creditors. The time is not

    'ripe' for a Mortgage Modification Mediation.

6. I have requested legal help from the loan servicing company and the mortgagee company

    (BNYM)



    I had gotten in contact with the Florida Insurance Commission and filed

complainants with the Insurance Commission against my homeowners' insurance

company. The Florida Insurance commission agrees with me. Universal Property &

Causality ask for a 'do-over". I sent a write-up to the bankruptcy court, but the write-up

had non-pdf items attached to it such that the write-up was rejected

       I called the bankruptcy court to find out how what I need to do to start adversary

proceedings against my homeowners' insurance company to pay off creditors or bring

up to current as my original intention was for when I went into bankruptcy to collect the

personal property amount based on replacement cost.

Since then, issues with my insurance company, Universal Property & Casualty, has

gotten considerably worse. It became necessary to get the Florida insurance

commission involved. Florida Insurance Commission agreed that I had valid issues.

Adjusters from Universal Property admitted that they were at fault and requested a 'do-

over,' but I need legal help to continue pressing the matter, and without the ability to get



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an attorney, the bankruptcies assets from the insurance claim would go to waste based

on a large number of cases against Universal Property and Casualty and the size of the

legal staff at UPC

       I have a number of bankruptcies assets that I can flesh out with the

documentation, statutes, and case law into adversary proceedings where the Court can

decide how to handle the assets. I will supply the bullet point of the assets in addition to

the full adversary proceeding write-ups



Two of the proceedings would become construction job creation employing than just a

few people

In my June 2020 filing, I had bought up the issue that the waterway behind me, a

drainage easement, was causing issues to homes in my area. I had gotten in contact

with the South Florida Water Management District. The south Florida water

Management district assigned two engineers to help me locate the source of the issue.

       The next to the end result of that investigation is a few thousand linear feet of

seawall would have to be installed or upgraded possibly by the Old Plantation Water

Management District due to drainage easement laws I have damages to my home,

possibly due to the undermining of the water's properties from the drainage easement.

Of the 40 homes that have issues related to the drainage easement is paid off, and are

the life-savings of the owners see the exhibit.

       The second job creation would be to repair those homes that do have structural

issues due to the possible undermining by the drainage easement.




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        In my situation, based on other issues, the current building code elevation I am

at AE as far as the house itself, my home would have to be rebuilt from the ground up.

As Mr. Johnson had stated that I had too many litigation issues, he is correct. All of

those issues have taken a toll on me.; I was already classified as ADA due to physical

and mental issues by Social Security in court records (SSDI).

       With the ax hanging over my neck, I have been unable to think straightly to finish

complete the adversary proceedings to submit to the Court for the trustee to determine

how to proceed with the Court's assets. I have been keeping my main

creditors(SLS/?BNYM) in the information loop. Unfortunately, nobody wants to help or

offer guidance for legal help. Based on the quotes from the late Justice Scalia Supreme

Court rulings of "When inaction become an action."

I have endeavored to get another bankruptcy attorney.

I am asking for a postponement of the Mortgage Modification Mediation Mediation and

whatever guidance the Court may suggest.

Please.



Sincerely



Ralph Levi Sanders

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Plantation, Fl. 33317

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